                                                                       Case 1:16-bk-12255-GM             Doc 244 Filed 11/15/16 Entered 11/15/16 14:29:22                           Desc
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                                                                       1   JEREMY V. RICHARDS (CA BAR NO. 102300)
                                                                           JOHN W. LUCAS (CA BAR NO. 271038)
                                                                       2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                           10100 Santa Monica Boulevard, 13th Floor                                     FILED & ENTERED
                                                                       3   Los Angeles, CA 90067
                                                                           Telephone: 310/277-6910
                                                                       4   Facsimile: 310/201-0760                                                             NOV 15 2016
                                                                           E-mail: jrichards@pszjlaw.com
                                                                       5            jlucas@pszjlaw.com
                                                                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                          Central District of California
                                                                       6   [Proposed] Attorneys for David K. Gottlieb, Chapter 11 Trustee                 BY Cetulio DEPUTY CLERK
                                                                           of the Estates of Solyman Yashouafar and Massoud Aaron
                                                                       7   Yashouafar

                                                                       8                                  UNITED STATES BANKRUPTCY COURT

                                                                       9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                     SAN FERNANDO VALLEY DIVISION

                                                                      11   In re:                                                        Case No.: 1:16-bk-12255-GM
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   SOLYMAN YASHOUAFAR and MASSOUD                                Chapter 11
                                                                           AARON YASHOUAFAR, 1
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                       Debtors,                                  (Jointly Administered)
                                            ATTOR NE YS A T L AW




                                                                      14   In re:
                                                                                                                                         Case No.: 1:16-bk-12255-GM
                                                                      15   SOLYMAN YASHOUAFAR,
                                                                                             Debtor,                                     Chapter 11
                                                                      16
                                                                           In re:
                                                                      17
                                                                           MASSOUD AARON YASHOUAFAR,                                     Case No. 1:16-bk-12408-GM
                                                                      18                     Debtor,
                                                                                                                                         Chapter 11
                                                                      19   Affects:
                                                                      20    Both Debtors
                                                                            Solyman Yashouafar                                          ORDER APPROVING CHAPTER 11
                                                                      21    Massoud Aaron Yashouafar                                    TRUSTEE’S APPLICATION TO
                                                                                                                                         EMPLOY PACHULSKI STANG ZIEHL &
                                                                      22                                      Debtors.                   JONES LLP AS GENERAL
                                                                                                                                         BANKRUPTCY COUNSEL EFFECTIVE
                                                                      23                                                                 SEPTEMBER 16, 2016
                                                                      24                                                                 [No Hearing Required]
                                                                      25

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                                                                            The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar (5875)
                                                                      28   and Massoud Aaron Yashouafar (6590). The Debtors maintain a business address of 16661 Ventura Blvd., Suite 600,
                                                                           Encino, CA 91436.

                                                                           DOCS_LA:302089.1 32274/001
                                                                       Case 1:16-bk-12255-GM            Doc 244 Filed 11/15/16 Entered 11/15/16 14:29:22                        Desc
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                                                                       1            This Court, having considered the application (the “Application”)2 of David K. Gottlieb, the

                                                                       2   duly appointed chapter 11 trustee (the “Chapter 11 Trustee”), solely in his capacity as Trustee for

                                                                       3   the bankruptcy estate of Solyman Yashouafar and Massoud Aaron Yashouafar (the “Debtors”), to

                                                                       4   employ the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ”), as general bankruptcy

                                                                       5   counsel to the Chapter 7 Trustee, and the Declaration of Jeremy V. Richards filed in support

                                                                       6   thereof, and the Court finding that due and sufficient notice of the Application has been given, and

                                                                       7   based upon the record before the Court, it appears that the Firm does not hold or represent an

                                                                       8   interest adverse to the Debtors, that PSZJ is a disinterested person, that its employment is in the best

                                                                       9   interest of the estate, and, there being no objections to or requests for hearing on the Application,

                                                                      10   that no hearing on the Application is required pursuant to the Local Bankruptcy Rules.

                                                                      11   Accordingly, it is hereby:
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12            ORDERED that the Chapter 11 Trustee is authorized to employ PSZJ as his general
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13   bankruptcy counsel herein, effective as of September 16, 2016, on the terms and conditions set forth
                                            ATTOR NE YS A T L AW




                                                                      14   in the Application; and it is further

                                                                      15            ORDERED that, as set forth in the Application, the employment of PSZJ is approved

                                                                      16   pursuant to sections 327(a) and 328 of the Bankruptcy Code and any fee applications shall be

                                                                      17   considered in accordance with sections 330 and 331 of the Bankruptcy Code.
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                                                                               Date: November 15, 2016
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                                                                            The Chapter 11 Trustee filed applications to employ Pachulski Stang Ziehl & Jones LLP as his general bankruptcy
                                                                      27   counsel in the case of Solyman Yashouafar (Case No. 16-12255) and in the case of Massoud Aaron Yashouafar (Case
                                                                           No. 16-12408). On October 18, 2016, the Court entered an Order Directing Joint Administration of Related Cases
                                                                      28   under Case No. 16-12255 [Docket No. 170].

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                                                                           DOCS_LA:302089.1 32274/001
